                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                                CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


      ORDER: SEALED MOTION TO CONTINUE SENTENCING AND ALL
                      RELATED DEADLINES


        On the ________ day of ___________, 2023 came for consideration a Sealed

Motion to Continue Sentencing and All Related Deadlines in the above entitled and

numbered cause. The Court, after considering this Motion, any response, and the evidence

filed in support of the motion and response, is of the opinion that said motion should, in all

things be:


[]      GRANTED.


[]      DENIED.


[]      SET FOR HEARING on the _______day of ___________, 2023.




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